     Case 1:21-cr-00175-TJK   Document 1069   Filed 03/23/25   Page 1 of 7



               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA,


          v.
                                              No. 1:21-cr-175 (TJK)
ZACHARY REHL, DOMINIC
PEZZOLA, and JOSEPH BIGGS


                 Defendant.




  REHL’S PEZZOLA’S AND BIGGS’ REPLY TO UNITED STATES
MEMORANDUM IN OPPOSITION (#1068) REGARDING MOTION TO
                     DISMISS CASE

COMES NOW defendants Pezzola, Rehl, and Biggs, by undersigned

counsel, with the following Reply to the government’s recent (#1068)

Opposition to Defendants’ motion to dismiss.

     The United States proposes an order denying the motion “as

moot because “the Court does not have jurisdiction by virtue of

defendants’ pending appeals.” (#1068-1). However, the plain language



                                     1
       Case 1:21-cr-00175-TJK        Document 1069        Filed 03/23/25    Page 2 of 7



of the President’s pardon proclamation of January 20 indicates that

this case must be dismissed in its entirety.

       The President’s proclamation, at Section (b):

       I further direct the Attorney General to pursue
       dismissal with prejudice to the government of all
       pending indictments against individuals for their
       conduct related to the events at or near the United
       States Capitol on January 6, 2021. The Bureau of
       Prisons shall immediately implement all instructions
       from the Department of Justice regarding this
       directive.
https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-
commutation-of-sentences-for-certain-offenses-relating-to-the-events-at-or-near-the-united-
states-capitol-on-january-6-2021/ (emphasis added) (accessed 3/23/2025).



What is meant by “pending indictment”?
       President Trump’s phrase “pending indictment” cannot mean

just cases in the district court. Indeed the DOJ itself appears to be

interpreting this phrase to mean all live January 6 cases, whether

pre-trial, post-trial, pre-sentence or post-sentence, in other cases.

See, e.g, United States v. Christopher Alberts (1:21-cr-00026);

(government filed motions to vacate and dismiss appeal); United

States v. Lloyd Cruz (1:22-cr-00064-RBW) (same). The government’s

now-pretended interpretation of the President’s proclamation is belied

even by the list of fourteen commuted individuals in the first

paragraph of the President’s proclamation. That list, after all,
                                               2
     Case 1:21-cr-00175-TJK   Document 1069   Filed 03/23/25   Page 3 of 7



includes Jeremy Bertino whose case is in the pre-sentencing phase

in the District Court rather than the Court of Appeals.

     The phrase “pending indictment” in Trump’s Proclamation can

only mean all live cases—whether in the district court or on appeal

and whether a pardon or a commutation applies to individuals

therein.

     A similar reality occurs whenever fundamentally case-altering

events occur abruptly during the pendency of an appeal. The

doctrine of abatement ab initio erases a defendant’s conviction if the

defendant dies while an appeal is pending. United States v. Pauline,

625 F.2d 684, 684 (5th Cir. 1980).

     Thus, a defendant is not a ‘convicted felon’ if he dies during his

appeal of a felony. Such an appellant dies an innocent man under the

law, if his conviction is on appeal. In essence, the case is

extinguished as if the defendant was never indicted or convicted.

     The U.S. Supreme Court upheld this doctrine in 1971, Durham

v. United States, 401 U.S. 481, 483 (1971) and narrowed it in 1976 to

apply only when a convicted defendant dies pending a direct appeal

as of right, not when there is a petition for certiorari. Dove v. United

                                     3
     Case 1:21-cr-00175-TJK   Document 1069   Filed 03/23/25   Page 4 of 7



States, 423 U.S. 325 (1976)). The U.S. Courts of Appeals apply the

doctrine. See United States v. Christopher, 273 F.3d 294, 296-297 (3d

Cir. 2001); United States v. Wright, 160 F.3d 905, 908-909

(2d Cir. 1998); United States v. Pogue, 19 F.3d 663, 665 (D.C.

Cir. 1994); United States v. Davis, 953 F.2d 1482, 1486 (10th

Cir.), cert. denied, 504 U.S. 995 (1992); United States v.

Schumann, 861 F.2d 1234, 1236 (11th Cir. 1988); United States v.

Wilcox, 783 F.2d 44 (6th Cir. 1986); United States v. Dudley,

739 F.2d 175, 176 (4th Cir. 1984); United States v. Littlefield, 594

F.2d 682, 683 (8th Cir. 1979); United States v. Moehlenkamp, 557

F.2d 126, 128 (7th Cir. 1977); United States v. Bechtel, 547

F.2d 1379, 1380 (9th Cir. 1977) (per curiam).

     The D.C. Circuit’s 1996 Pogue decision collected numerous

federal decisions supporting the same conclusion, e.g., United States

v. Williams, 874 F.2d 968, 970 (5th Cir. 1989); United States v.

Mollica, 849 F.2d 723, 725-26 (2d Cir. 1988).

These defendants’ commutations strip the government of
authority to further prosecute them.
                                     4
     Case 1:21-cr-00175-TJK   Document 1069   Filed 03/23/25   Page 5 of 7



     Pezzola, Rehl, and Biggs have been granted commutations. The

government has conceded that the fourteen commuted individuals

have no further sentences to serve and are not even on probation or

supervised release. But now the United States indicates an intent to

continue prosecuting these defendants through appeals—over

nothing, it seems, except perhaps Rehl’s and Biggs’ veteran benefits. 1

     Courts have repeatedly indicated that they lose jurisdiction over

prosecutions when a pardon or commutation leaves the government

with nothing to gain from a prosecution. See, e.g., Savory v. Cannon,

947 F.3d 409 (7th Cir. 2020) (saying in a civil rights case that a former

defendant “lacked access to habeas corpus” after being out of custody

due to a commutation of sentence). Article III of the Constitution

vests jurisdiction in the Judiciary only to the extent that there is an

actual case or controversy.

     Accordingly, the Court of Appeals has no jurisdiction over Rehl,

Pezzola, and Biggs in this matter. Nor does this Court have any

further jurisdiction over the government’s prosecution of this case.


1 The Sedition statute states that those convicted lose all military or

veteran benefits upon conviction. All three of these defendants are
veterans, but Pezzola was acquitted by the jury of seditious
conspiracy, while Biggs and Rehl were convicted.
                                     5
     Case 1:21-cr-00175-TJK   Document 1069   Filed 03/23/25   Page 6 of 7



The District Court should, however, apply its housekeeping

jurisdiction and open proceedings to examine the government’s

misconduct, falsification of evidence, and exaggerations in this case,

as described previously.

Dismissal is required on the merits, due to prosecutorial
misconduct, as well as on mootness grounds.
     The overzealous prosecution, weaponization, exaggerations and

misconduct described in the movants’ motion also merit dismissal—

after an evidentiary hearing. The government’s bogus case was little

more than a few stitched-together memes and Telegram chats about

politics and Antifa combined with film footage of defendants engaged

in minor civil disobedience at the U.S. Capitol. At most this should

have been a misdemeanor disorderly conduct case.

     ACCORDINGLY, this honorable Court should dismiss this case,

with prejudice, after holding an evidentiary hearing regarding the

government’s misconduct.

                                                        Respectfully Submitted,
                                                             /s/ Roger I. Roots
                                                                  Roger I. Roots
                                                            10 Dorrance Street
                                                                      Suite 700
                                               Providence, Rhode Island 02903
                                                            Tel: (775) 764-9347
                                                 Email: roger@rootsjustice.com
                                     6
    Case 1:21-cr-00175-TJK     Document 1069     Filed 03/23/25    Page 7 of 7




                        CERTIFICATE OF SERVICE

      I, Roger I. Roots, hereby certify that on this day, March 23, 2025, I caused a

copy of the foregoing document to be served on all counsel through the Court’s

CM/ECF case filing system.



                                                                  /s/ Roger I. Roots
                                                                      Roger I. Roots




                                        7
